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EXHIBIT B
Case 2:08-cv-01021-PSG-RC Document 9-3 Filed 02/19/08 Page 2of5 Page ID #:361
GC-110

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State . » Number, and address): FOR COURT USE ONLY

| Geraldine A. Wyle, SBN 89735 Jeryll S. Cohen, SBN 125392
Vivian L. Thoreen, SBN 224162
Luce, Forward, Hamilton & Scripps LLP
601 South Figueroa Street, Suite 3900, Los Angeles, California 90017 ma
TELEPHONE NO.: (213) 892-4992 FAX NO. (Optional): (213) 892-7731 kk TEED
E-MAIL ADDRESS (Optionay’ QSwyle@luce.com; jcohen@luce.com; vthoreen@luce.com LOS ANGELES SUPEEIOE: COURT
ATTORNEY FOR (Name: James P. Spears
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
STREET appREss: 111 North Hill Street FFR U 1 2008
malLinc aboress: 111 North Hill Street

cITy aND zip cove: Los Angeles, California 90012 JOHN A.C
BRANCH NAME: Central
BYG
TEMPORARY [_] GUARDIANSHIP [X] CONSERVATORSHIP OF (Name):
Britney Jean Spears
[] minor [&] CONSERVATEE
PETITION FOR APPOINTMENT OF TEMPORARY CASE NUMBER:
[.] GUARDIAN [x] CONSERVATOR fP j
X Person* [] Estate* B / od 5 & 7d

1. Petitioner (name each): James P. Spears
requests that
a. (Name): James P. Spears
(Address and 10945 Bluffside Drive, Studio City, California 91604
telephone number): (818) 761-4345
be appointed temporary CJ guardian [X]_ conservator of the PERSON of the

minor ix] proposed conservatee and Letters issue upon qualification.
b. (Name):

be appointed temporary | guardian Cl conservator of the ESTATE of the
{-] minor C] proposed conservatee and Letters issue upon qualification.

c. (1) Pd bond not be required because petition is for a temporary guardianship or conservatorship of the person only.
(2) "] bond not be required for the reasons stated in Attachment tc.

(3) C] $ bond be fixed. It will be furnished by an admitted surety insurer or as otherwise provided by law.
(Specify reasons in Attachment 1c if the amount is different from maximum required by Probate Code section 2320.)
(4)C] $ in deposits in a blocked account be allowed. Receipts will be filed.

(Specify institution and location):

the powers specified in Attachment 1d be granted in addition to the powers provided by law.
an order be granted dispensing with notice to the [[] minor i proposed conservatee [] minor's mother
[-] minor's father [-] other person having a visitation order for the reasons stated in Attachment te.
(Identify each by name and relationship.)
f. [X] _ other orders be granted (specify in Attachment 1f).
2. The{_] minor [X]_ proposed conservatee is (name): Britney Jean Spears

XI
bX

Current address: UCLA Medical Center, 10833 Le Conte Avenue, Current telephone no.: (310) 825-9111
Westwood, California 90095
3. The C] minor [X] proposed conservatee requires a temporary C] guardian & conservator to x] provide

for temporary care, maintenance, and support [Xx] protect property from loss or injury because
(facts are (_] specified in Attachment 3 XX] as follows):
See Confidential Supplemental Information

*You MAY use this form or form GC-110(P) for a temporary guardianship of the person. You MUST use this form fora
temporary guardianship of the estate or the person and estate or for a temporary conservatorship.

Page 1 of 2

Form Adopted for Mandatory and, ‘enaye PETITION FOR APPOINTMENT OF cal R Probate Code, § 2280;
a t Use Instead of Form - . Rules of urt, rule 7.

me Sradicia Council of California TEMPORARY GUARDIAN OR CONSERVATOR www. courlinfo.ca.gov
GC-110 (Rev. January 1, 2007] (Probate—Guardianships and Conservatorships) American LegalNet, inc.

www.Forms Workflow.com

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TEMPORARY [|] GUARDIANSHIP [] CONSERVATORSHIP OF (Name): CASE NUMBER:

Britney Jean Spears ! pP
EL] minor _[X]_ conseERVATEE B / O 5 5 7d

4. Temporary CJ guardianship xX] conservatorship is required
a. & pending the hearing on the petition for appointment of a general [_] guardian [X] conservator,
b. (J pending the appeal under Probate Code section 1301.
c C] during the suspension of powers of the {_] guardian [] conservator.
5. kX] (Complete if a temporary guardianship or conservatorship of the estate or person and estate is requested.)
Character and estimated value of the property of the estate:

a. Personal property: $
b. Annual gross income from all sources, including real and

personal property, wages, pensions, and public benefits: $ Unknown
c. Total: $ 0.00

6. CJ Change of Residence of Proposed Conservatee
aL] Petitioner requests that the residence of the proposed conservatee be changed to (address):

The proposed conservatee will suffer irreparable harm if his or her residence is not changed as requested and no means
less restrictive of the proposed conservatee's liberty will suffice to prevent the harm because (precise reasons are

[1 specified in Attachment 6a [_] as follows):

b. [] The proposed conservatee must be removed from the State of California to permit the performance of the following non
psychiatric medical treatment essential to the proposed conservatee's physical survival. The proposed conservatee
consents to this medical! treatment.

(Facts and place of treatment are [_] specified in Attachment 6b — [_]_ as follows):

c. (Change of residence only) The proposed conservatee
(1) [) will attend the hearing.

(2) [-] is able but unwilling to attend the hearing, does not wish to contest the establishment of a conservatorship, does not
object to the proposed conservator, and does not prefer that another person act as conservator.

(3) (J is unable to attend the hearing because of medical inability. An affidavit or certificate of a licensed medical
practitioner or an accredited religious practitioner is affixed as Attachment 6c.

(4) [_] is not the petitioner, is out of state, and will not attend the hearing.
d. [] (Change of residence only) Filed with this petition. is a proposed Order Appointing Court Investigator (form GC-330).

7. Petitioner believes the C] minor XX proposed conservatee C] will x] will not attend the hearing.
8. Atl attachments to this form are incorporated by this reference as though placed in this form. There are 2 pages attached to
this form. . Za)
Date: January 31, 2008 »
- U/ (SIGWATURE/OF ATTORNEY*)
* (Signature of all petitioners also required (Prob. Code, § 1020).)
| declare under penalty of perjury under the laws of the State of Califormia th e oregoing is true and correct.
Date: January 31, 2008 & ane p
f
James P. Spears J / Wiel
(TYPE OR PRINT NAME) [7 (SIGNATURE OF PETITIONER)
(TYPE OR PRINT NAME) (SIGNATURE OF PETITIONER)
GC-110 [Rev. January 1, 2007) PETITION FOR APPOINTMENT OF Page 2 of 2

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Petition for Appointment of
Temporary Conservator

of the Person

Britney Jean Spears
Attachment I.d

Petitioner requests that the Court grant the Temporary Conservator of the Person the
following powers in addition to the powers provided by law:

1. The power to make all medical and health care decisions for the Conservatee
under Probate Code Section 2355, including but not limited to, the power to consent to and
authorize hospitalization and a full medical evaluation and diagnositic tests, including but not
limited to, blood work-up, urine test, psychiatric evaluation, to prevent the Conservatee from
discharging herself from the hospital, to authorize the hospital to use security personnel to
prevent the conservatee from leaving the hospital and to authorize the medical staff to use
restraints, if necessary, and recommended by the Conservatee’s treating physician.

2. The power to restrict and limit visitors; provided that the Temporary Conservator
shall not prevent the Conservatee from meeting with her attorney, subject to the Temporary
Conservator’s approval of the location for the meeting and ability to secure it in order to protect
the Conservatee.

3. The power to retain caretakers for the Conservatee on a 24 hour/7 day basis.
The power to retain security guards for the Conservatee on a 24 hour/7 day basis.
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Petition for Appointment of
Temporary Conservator

of the Person

Britney Jean Spears
Attachment 1.f

Additional Powers are granted as follows:
The Conservatee is to remain in California pending the hearing on the Petition for

Appointment of Permanent Conservator, the written consent of the Conservator of the Person, or
further order of the Court.
